
On Rehearing
PER CURIAM.
In the brief in support of its application for rehearing, defendant, Fairmont Foods Company, discusses the point as to whether or not a shipper of goods by common carrier is responsible for torts committed by the operator of the common carrier vehicle. In the case before us, we find that the owner of the truck entered into a private contract of employment with Fair-mont Foods Company. We further find that the products of the defendant, Fair-mont Foods Company, constituted the entire cargo of the Wertz truck, and that the Wertz truck was engaged in furthering the business of the Fairmont Foods Company by delivering a truckload of its produce to New Orleans. Had there been proof that Ralph Wertz was in business as a public carrier, or that his truck was loaded with the goods of parties other than Fairmont Foods Company, a different question would have been presented.
The rehearing is refused.
